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EXH|B|T B

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Certificate of Registration

 

This Certiiicate issued under the seal of the Copyright
Oft`ice in accordance With title 17, United States Code, ~
attests that registration has been made for the W'Ork
identified below. The information on this certificate has
been made a part of the Copyright Office records. ~

762/iga

Registration Number `

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Eft`e'ctive Date of Registration:
May 22_, 2018

v Acting United S_tates Register of Copyrights and Director y

 

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'lr`itle” of ' Work:

` Completion/Publication

Year of Cornpletioll:
Date of lst Publication:

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